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 3   Los Angeles, CA 90025
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 4
                              UNITED STATES DISTRICT COURT
 5
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
 6
     SUZANNE KNORR, individually and on              Case No. 2:17-cv-5339-BRO-MRW
 7   behalf of all others similarly situated,

 8                 Plaintiff,                        VOLUNTARY DISMISSAL WITH
                                                     PREJUDICE
 9
     v.
10
11   ELOCAL USA, LLC, a Delaware
     corporation,
12
                   Defendant.
13
14
15                    VOLUNTARY DISMISSAL WITH PREJUDICE
16
            Plaintiff, Suzanne Knorr, individually, by and through undersigned counsel,
17
18   hereby advise the Court that an agreement has been reached, and therefore Plaintiff

19   Knorr dismisses all claims asserted in this civil action, with prejudice, pursuant to
20
     Fed. R. Civ. P. 41(a)(1)(A)(ii).           The parties are to bear their own respective
21
22   attorneys’ fees and costs.

23
24                                                Respectfully Submitted,
25
                                                  SUZANNE KNORR, individually and on behalf of
26                                                Classes of similarly situated individuals

27
     Dated: September 21, 2017                    By: /s/Blake J. Dugger_____________
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                                               One of Plaintiff’s Attorneys
 1
 2
                                      Blake J. Dugger*
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 6                                    Facsimile: (888) 498-8946

 7                                    Attorney for Plaintiff and the Classes

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                                VOLUNTARY DISMISSAL
                                         -2-
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 1
                                     CERTIFICATE OF SERVICE
 2
 3           I, Blake J. Dugger, an attorney, hereby certify that on September 21, 2017 I caused the
     above and foregoing papers to be served by sending such papers to all counsel of record via
 4   electronic mail.

 5                                                                                    s/Blake J. Dugger
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                                          VOLUNTARY DISMISSAL
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